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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Case No. i (JEB)
IN RE GRAND JURY SUBPOENA

EX PARTE TO GOVERNMENT AND
PENCE ONLY

 

 

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, the Court
ORDERS that:

1. Former Vice President Michael R. Pence’s [5] Motion to Quash Subpoena is
GRANTED IN PART and DENIED IN PART; and

2. Pence must testify in the grand jury on matters related to the fj enumerated
topics, with the exception that he may invoke the Speech or Debate Clause only as
described in Part III.C.2.b of the accompanying Memorandum Opinion,

/s/ James £. Boasberg

JAMES E. BOASBERG
Chief Judge

Date: March 27, 2023

 
